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                             EXHIBIT

                                H-1
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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SAFETY VISION, LLC                               §
     Plaintiff,                                  §
                                                 §
v.                                               §   CIVIL ACTION NO. 4:21-cv-03306
                                                 §
LEI TECHNOLOGY CANADA AND                        §
LANNER ELECTRONICS, INC.                         §
      Defendants.                                §

                   DEFENDANT’S RESPONSES AND OBJECTIONS TO
                     PLAINTIFF’S REQUEST FOR PRODUCTION

TO:    Plaintiff Safety Vision, LLC, by and through its attorney of record, Patrick McGettigan,
       13625 Ronald Reagan Blvd., Building One, Suite 100, Cedar Park, TX 78613, Phone: 512-
       476-1121, Fax: 512-476-1131.

        Defendant LEI TECHNOLOGY CANADA submits these objections and responses to

Plaintiff’s Request for Production pursuant to Rule 34 of the Federal Rules of Civil Procedure.

                                            Respectfully submitted,

                                            HARTLINE BARGER LLP

                                            By: /s/ Staci M. Vetterling
                                               Darrell L. Barger
                                               Texas Bar No. 01733800
                                               dbarger@hartlinebarger.com
                                               Staci Vetterling
                                               Texas Bar No. 24051059
                                               Svetterling@hartlinebarger.com
                                               1980 Post Oak Blvd., Suite 1800
                                               Houston, Texas 77056
                                               Phone: (713) 759-1990
                                               Fax: (713) 652-2419

                                            ATTORNEYS FOR DEFENDANT
                                            LEI TECHNOLOGY CANADA
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been forwarded to all known counsel of record as listed below by the method of
service indicated on this 14th day of November 2022.

      Patrick J. McGettigan
      13625 Ronald Reagan Blvd.
      Building One, Suite 100
      Cedar Park, TX 78613
      Phone: 512-476-1121
      Fax: 512-476-1131
      Email: pmcgettigan@inhousegc.com
      Attorney for Plaintiff


                                                   /s/ Staci M. Vetterling
                                                  Staci Vetterling
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                   DEFENDANT’S RESPONSES AND OBJECTIONS TO
                     PLAINTIFF’S REQUEST FOR PRODUCTION

1. Produce all versions and drafts with revisions, edits, comments or other marking or changes
   made to the ODM Agreement that is the subject of this lawsuit prior to the effective date.

RESPONSE:
Objection. Defendant objects to the extent the documents requested are not relevant and not
reasonably calculated to lead to the discovery of admissible evidence.

2. Produce all materials and documents showing that Defendant interviewed, consulted, discussed,
   or managed any employee, agent or consultant or other third party after January 1, 2016 and
   prior to June, 2021 including journals, calendars, notes, logs or other written record by
   Defendant or Lanner that they performed any review, analysis, inquiry study or
   recommendations of the Product, including but not limited to “Root Cause Analysis” or
   “Failure Analysis Report” or “Corrective Action”.

RESPONSE:
See correspondence between Plaintiff and Defendant, Bates Labeled SV LEI 1-1179. See also Test
reports, attached LEI 00113-LEI 000217.

SUPPLEMENTAL RESPONSE:
See also email correspondence produced in native format.

3. Produce all emails between Defendant and Lanner Electronics, Inc. (either sent or received by
   Defendant) that mentions or relates to the ODM Agreement for proposals, alterations, changes
   or suggestions to the Product or related equipment to be made by Defendant, or by Lanner or its
   employees, consultants or agents after the date of the ODM Agreement and prior to the filing of
   this lawsuit.

RESPONSE:
See correspondence between Plaintiff and Defendant, Bates Labeled SV LEI 1-1179. Defendant
continues to search for any additional responsive documents.

SUPPLEMENTAL RESPONSE:
See also email correspondence produced in native format.

4. Produce all materials and documents supporting the statements, allegations and contentions
   Defendant made in the letter dated June 7,2021 from Geoffrey Egger (see, LEI 000072) with
   respect to his asserted contention that

   “…LEI examined a large number of “returned as defective” devices. The results of the
   examination showed that the majority of the defective units were made defective by installer
   error”

   including any such materials and documents dating from January 1, 2016 to prior to the filing
   of this lawsuit.

RESPONSE:
See LEI 113-217.
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5. Produce a copy of any documents expressly referenced in the ODM Agreement, including the
   Exhibits thereto and references as stated in the Exhibits therein (see, LEI 00066-69).

RESPONSE:
Objection. Defendant objects to the extent the documents are equally available to Plaintiff.

6. Produce documents and materials in the nature of solicitations, marketing or advertising
   materials, including emails, letters, faxes, brochures and catalogues, received or issued by LEI
   between 2015 and June 7, 2021 for any bid solicitation Defendant sought or any proposal
   submitted by it to any other potential or actual transit type customer proposing to use the same
   or similar NVR product that is described as “Product” in the ODM Agreement. This would
   include communications with Tactical Micro relating to its project with TriMet (Tri-County
   Metropolitan Transportation).

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence.

SUPPLEMENTAL RESPONSE:
See also LEI 000257-000299 and email correspondence produced in native format.

7. Produce documents relating to the terms of actual “repair the defective product or part” by LEI
   as that term and provision is stated in the ODM Agreement.

RESPONSE:
See LEI 113-217.

8. Produce documents and materials showing whom and when Defendant interviewed, consulted,
   discussed, managed any consultant, third party, or vendors between 2015 and June 2021,
   including journals, calendars, notes, logs or other written record showing Defendant engaged in
   any review or analysis tasks relating to the actual or proposed specifications of the equipment
   that is the subject of ODM Agreement. This request is primarily focused on the specifications
   set forth in the ODM Agreement relating to the “Prototype” and “Gold Sample” as those terms
   are defined in Sections 3.5 and 3.6 of the ODM Agreement (paragraph 11.1.2 (1)) for the years
   2016 up to June, 2021 (the filing of the Lawsuit), by return RMA or other documents.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence. Subject to and without
waiving the foregoing, see LEI 113-217.

SUPPLEMENTAL RESPONSE:
See also email correspondence produced in native format.

9. Produce documents relating to the actual deliver to customer an “equivalent product or part to
   replace the defective item” by LEI as that term and provision is stated in the ODM Agreement
   (paragraph 11.1.2 (2)) for the years 2016 up to June, 2021 (the filing of the Lawsuit), by return
   RMA or other documents.

RESPONSE:
None.
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10. Produce copies of mobile and electronic device records (email, phone and text messages) for
    the time period of June 2017 to June 2021 that were sent to or received by Defendant and
    persons employed by Defendant from or to Lanner by other transit customers regarding
    reported Product failures similar to the failures as reported by SV.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence.

SUPPLEMENTAL RESPONSE:
See LEI 000300.

11. Produce a copy or transcription of all statements, oral or written, that Defendant contends are
    attributable to Plaintiff, including audio or videotape recordings.

ANSWER:
None.

12. Produce a copy or transcription of all statements, oral or written, between LEI and Lanner,
    including audio or videotape recordings, discussing product failures of the Product, whether
    reported by SV or others.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence. Subject to and without
waiving the foregoing, see SV LEI 1-1179 and LEI 113-217.

SUPPLEMENTAL RESPONSE:
See also email correspondence produced in native format.

13. Produce documents and materials showing the date and times (and frequency) of Defendant’s
    actual access to the recorder settings and hard drive utilization, either through wifi settings or
    cellular connectivity or in person, for all Product or equipment installed on customer vehicles of
    SV.

RESPONSE:
See LEI 113-217.

SUPPLEMENTAL RESPONSE:
See LEI 000300.

14. Produce all documents, emails, materials or reports that are in Defendant’s or Lanner’s
    possession, custody, or control relating to notices allegedly made by Defendant on or after
    January 1, 2016 to Plaintiff, or any person purportedly acting as agent for any such persons,
    terminating the ODM Agreement.

RESPONSE:
None.

15. Produce all proposed contracts, amendments, proposals, notices, applications or other
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   documents that were arranged or submitted by Defendant to Plaintiff or Plaintiff to Defendant
   between 2016 and June 2021 for review or approval by Defendant or Plaintiff or both of the
   ODM Agreement.

RESPONSE:
See LEI 73-75.

16. Produce all contracts or other agreements executed between Defendant and any other entity,
    person or business between 2015 and 2021 that pertain to the same or similar parts or supplies
    utilized by LEI or Lanner in the design and manufacturing of the Product with other customers
    or vendors, including but not limited to Tactical Micro.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence.

SUPPLEMENTAL RESPONSE:
None.

17. Produce all materials and documents relating to the Product or similar in design or
    functionality to the “Road Recorder 8000-Network Video Recorder” (see, LEI 00001-057-
    sometimes referred to as NVR or RR 8000) prepared or submitted by Defendant or Lanner
    relating to any sales distribution channel through which Defendant’s or Lanner’s products or
    services were to be sold, marketed, or promoted between 2016 and 2021.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence.

18. Produce all materials and documents relating to the classes or categories of customers to whom
    Defendant promoted its products or services from 2016 to June 2021 similar to the Product and
    specifications described in the ODM Agreement.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence.

SUPPLEMENTAL RESPONSE:
None.

19. Produce all materials relating to the classes or categories of customers to whom Defendant
    attempted to sell, market, or promote products or services as the same or similar to the RR 8000
    four (4) years before the issuance of the ODM Agreement with Plaintiff.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence.

SUPPLEMENTAL RESPONSE:
None.
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20. Produce documents, in summary form, relating to the dollar and unit volume of sales of the
    Product to any other customer (other than SV) by Defendant or Lanner between 2015 and 2021.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence.

SUPPLEMENTAL RESPONSE:
None.

21. Produce all materials relating to any formal or informal market studies, surveys, polls, focus
    groups, or other studies by Defendant or Lanner of servicing or responding to alleged product
    failures or warranty claims or the provisions in other ODM similar agreements.

RESPONSE:
Objection. Defendant objects to the extent the request is overly broad, not relevant, and not
reasonably calculated to lead to the discovery of admissible evidence.

SUPPLEMENTAL RESPONSE:
None.
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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

SAFETY VISION, LLC                                 §
     Plaintiff,                                    §
                                                   §
v.                                                 §   CIVIL ACTION NO. 4:21-cv-03306
                                                   §
LEI TECHNOLOGY CANADA AND                          §
LANNER ELECTRONICS, INC.                           §
      Defendants.                                  §

         DEFENDANT’S SUPPLEMENTAL RESPONSES AND OBJECTIONS TO
                PLAINTIFF’S FIRST SET OF INTERROGATORIES

TO:    Plaintiff Safety Vision, LLC, by and through its attorney of record, Patrick McGettigan,
       13625 Ronald Reagan Blvd., Building One, Suite 100, Cedar Park, TX 78613, Phone: 512-
       476-1121, Fax: 512-476-1131.

        Defendant LEI TECHNOLOGY CANADA submits these supplemental objections and

responses to Plaintiff’s First Set of Interrogatories pursuant to Rule 33 of the Federal Rules of Civil

Procedure.

                                              Respectfully submitted,

                                              HARTLINE BARGER LLP

                                              By: /s/ Staci M. Vetterling
                                                 Darrell L. Barger
                                                 Texas Bar No. 01733800
                                                 dbarger@hartlinebarger.com
                                                 Staci Vetterling
                                                 Texas Bar No. 24051059
                                                 Svetterling@hartlinebarger.com
                                                 1980 Post Oak Blvd., Suite 1800
                                                 Houston, Texas 77056
                                                 Phone: (713) 759-1990
                                                 Fax: (713) 652-2419

                                              ATTORNEYS FOR DEFENDANT
                                              LEI TECHNOLOGY CANADA
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been forwarded to all known counsel of record as listed below by the method of
service indicated on this 12th day of June 2023.

      Patrick J. McGettigan
      13625 Ronald Reagan Blvd.
      Building One, Suite 100
      Cedar Park, TX 78613
      Phone: 512-476-1121
      Fax: 512-476-1131
      Email: pmcgettigan@inhousegc.com
      Attorney for Plaintiff


                                                   /s/ Staci M. Vetterling
                                                  Staci Vetterling
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         DEFENDANT’S SUPPLEMENTAL RESPONSES AND OBJECTIONS TO
                PLAINTIFF’S FIRST SET OF INTERROGATORIES

1. What is the name and address of the person(s) answering these interrogatories, and, if
   applicable, the person’s official position or relationship with the party to whom the
   interrogatories are directed?

ANSWER:
Terence Chou
GM, Lanner North America

2. Describe the specific acts required by the ODM Agreement that you contend Plaintiff failed to
   perform.

ANSWER:
Plaintiff breached ODM Section 7 , subsection 7.1 by not making payments for product received.

SUPPLEMENTAL ANSWER:
To the extent Plaintiff claims a warranty issues, Plaintiff failed to comply with ODM Section 11,
subsections 11.1.4 and 11.2.1.

3. For each specific act described in Interrogatory Number 2 above, explain in detail how each of
   those requirements was not met.

ANSWER:
Safety Vision did not pay for $244,927.70 for products it received and accepted under the contract.

SUPPLEMENTAL ANSWER:
To the extent Safety Vision claims products were defective, Safety Vision did not return products it
claims did not operate as warranted, instead electing to replace LEI product with alternative
product.

4. Provide the date the ODM Agreement was terminated and the reason(s) if any, given to Plaintiff
   for such termination.

ANSWER:
The ODM was not terminated in accordance with Section 16.

5. List the names and addresses of all persons who are believed or known by you, of your agents
   or attorneys to have any knowledge concerning any of the performance and warranty issues in
   this lawsuit and specify the subject matter about which the witness has knowledge.

ANSWER:
See persons identified in correspondence between Plaintiff and Defendant, Bates Labeled SV LEI
1-1179. For additional response,

Daren Khatib
114 Simcoe Rd.
King, ON L7B 0C7
Canada
416-357-4144
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Murray Bullied
508-2075 Amherst Heights Dr.
Burlington, ON L7P 5B8
Canada
416-710-4623

Dean McArthur
4172 Bianca Forest Dr.
Burlington, ON L7M 4L4
Canada
437-778-2173

Tom Howley
13115 FM 1764 Rd.
Santa Fe, TX 77510
832-221-4442

Andy Chean
35 Rayal Gala Cres.
Richmond, ON L4S 1Y5
Canada
647-608-8287

LEI current employees
Geoffrey Egger
Terence Chou
Carol Li
c/o Staci Vetterling
Hartline Barger
1980 Post Oak Blvd., Suite 1800
Houston, TX 77056

6. State the name, address, and telephone number of each person who has given you, or anyone
   representing LEI interests in this lawsuit, a written or recorded statement concerning any aspect
   of this lawsuit.

ANSWER:
None.

7. Describe in detail your responsibilities under the ODM Agreement as far as designing,
   manufacturing and selling the Product (see, recital on page 1 of the ODM Agreement).

ANSWER:
The ODM clearly states the responsibilities of each party with respect to the design, manufacture
and sale of the Product.

8. Describe in detail Lanner’s responsibilities under the ODM Agreement as far as manufacturing
   the Product.

ANSWER:
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The ODM clearly states the responsibilities of each party with respect to the design, manufacture
and sale of the Product.

9. Describe in detail each time Plaintiff reported to you product failures, product defects and
   assorted failures as alleged in the Complaint. For every occurrence, provide the date, specific
   process or processes with which Defendant responded to such reports, and the individuals
   involved.

ANSWER:
See correspondence between Plaintiff and Defendant, Bates Labeled SV LEI 1-1179.

SUPPLEMENTAL ANSWER:
See LEI 000155-000217.

10. Does Defendant LEI contend that it was not required, pursuant to the ODM Agreement, to
    comply with all the Product specifications as outlined in the Exhibits attached to the ODM
    Agreement and attached thereto?

ANSWER:
LEI contends it was required to perform the under the terms of the ODM.

11. If your answer to Interrogatory 10 above is yes, please state with specificity the following:
    a. The Product specification with which LEI contends it was not required to comply;
    b. Identify all documents which support LEI’s contention and/or interpretation; and
    c. Identify the individual with the most knowledge of LEI’s contention and/or interpretation.

ANSWER:
n/a

12. Describe the computation of damages you claim as part of this lawsuit and the total amount of
    each category of damages you describe.

ANSWER:
LEI alleges further that Safety Vision breached the contract, specifically, Section 7. Payment,
subsection 7.1. by not making payments for products received. Safety Vision owes
LEI $244,927.70 for products it received and accepted under the contract. Additionally, Safety
Vision sent a Purchase Order for additional products which were not shipped and remain in
inventory, valued at approximately $60,000.

13. Has anything been paid or is anything payable from any third party for the damages listed in
    your answers to these Interrogatories? If so, state the amounts paid or payable, the name and
    business address of the person or entity who paid or owes said amounts, and which of those
    third parties have or claim a right of subrogation.

ANSWER:
No.
